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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         Miami Division


  DONALD J. TRUMP,

                           Plaintiff,                        Case No. 23-cv-21377-DPG

                 v.

  MICHAEL D. COHEN,

                           Defendant.


             DEFENDANT’S MOTION FOR ENTRY OF ORDER ON
    DISCOVERY MATTERS RAISED DURING THE SEPTEMBER 28, 2023 HEARING

         Defendant Michael D. Cohen, pursuant to this Court’s Order Setting Discovery Procedures

  [D.E. 35], hereby moves the Court to enter the attached order reflecting the Court’s rulings during

  the September 28, 2023 hearing upon Defendant’s Amended Motion for Hearing. [D.E. 64] The

  Proposed Order on Discovery Matters Raised During the September 28, 2023 Hearing is attached

  hereto as Exhibit 1.

         Defendant respectfully requests that this Court enter the Proposed Order on Discovery

  Matters Raised during the September 28, 2023 Hearing and grant such other and further relief as

  this Court deems just.
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                                                     Respectfully submitted,

                                                     By: /s/ Max Eichenblatt
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                                                     Counsel for Defendant Michael D. Cohen


                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this September 29, 2023, a copy of this filing was submitted

  electronically via the CM/ECF system to all parties that have entered an appearance in this case

  and on the Court’s electronic system.

                                                     By: /s/ Max Eichenblatt
                                                     Max A. Eichenblatt
